 Case 1:20-cv-00261-RGA Document 12 Filed 08/27/20 Page 1 of 3 PageID #: 44




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                    Case No: 1:20-cv-00261-RGA
                                      §
vs.                                   §                    PATENT CASE
                                      §
JAGUAR LAND ROVER NORTH               §
AMERICA, LLC                          §
                                      §
      Defendant.                      §
_____________________________________ §


        UNOPPOSED MOTION TO STAY ALL DEADLINES AND NOTICE OF
                            SETTLEMENT

       Plaintiff Display Technologies, LLC hereby notifies the Court that the parties have

reached an agreement in principle that will resolve all pending claims between them. The parties

need additional time to finalize the agreement and enter a motion to dismiss all claims against

Defendant. Accordingly, Plaintiff files this unopposed motion for a stay of all pending deadlines

for 30 days, until and including September 26, 2020. This stay is not sought for the purpose of

delay but so that justice may be served.

Dated: August 27, 2020                      Respectfully submitted,
                                            /s/Jimmy Chong
                                            JIMMY CHONG, ESQ. (#4839)
                                            CHONG LAW FIRM
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                                            Ste 350
                                            Wilmington, DE 19808
                                            (215) 909-5204
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                                                      ATTORNEY FOR PLAINTIFF
Case 1:20-cv-00261-RGA Document 12 Filed 08/27/20 Page 2 of 3 PageID #: 45




                             CERTIFICATE OF SERVICE

The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system on August 27, 2020.

                                          /s/Jimmy Chong
                                          JIMMY CHONG
 Case 1:20-cv-00261-RGA Document 12 Filed 08/27/20 Page 3 of 3 PageID #: 46




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                 Case No: 1:20-cv-00261-RGA
                                      §
vs.                                   §                 PATENT CASE
                                      §
JAGUAR LAND ROVER NORTH               §
AMERICA, LLC                          §
                                      §
      Defendant.                      §
_____________________________________ §

       ORDER GRANTING UNOPPOSED MOTION TO STAY ALL DEADLINES

       On this date came for consideration Display Technologies, LLC’s Unopposed Motion to

Stay All Deadlines and Notice of Settlement. The Court, having considered the motion, finds

that it should be granted in order to provide time for the parties to finalize an agreement

resolving the claims between them.

       It is therefore ORDERED that the Unopposed Motion to Stay All Deadlines is

GRANTED.

       It is further ORDERED that all deadlines among Display Technologies, LLC and Jaguar

Land Rover North America, LLC are stayed for 30 days up to and including September 26, 2020.

SO ORDERED




                                          __________________________________________

                                                                  US District Judge
